               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:07cr32-6

UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )            ORDER
                                                )
BRYAN LEMONT WILSON.                            )
_______________________________                 )

      THIS MATTER is before the court on defendant’s Motion to Withdraw His

Plea, made in the form of a pro se paper writing. In that paper writing defendant

stated that he had perjured himself when he appeared in front of the court in the earlier

plea proceeding and stated under oath that he was guilty of the offenses to which he

was pleading. Now that defendant has new counsel, he wishes to withdraw not the

plea, but the motion to the effect that such plea was involuntary and was based upon

perjured statements

      Rather than withdraw the motion the court has determined that the better course

of action is to strike the earlier plea as it is tainted by defendant’s motion and the

potential that it was based on false statements to the court. Inasmuch as no factual

basis was taken in conjunction with such plea, defendant has a right to withdraw such

plea with or without cause. Fed.R.Crim.P. 11. Defendant is advised that if he is able

to reach a new plea agreement with the government, the court will require of defendant

as well as the government a written stipulation of facts supporting the plea and that

defendant, under penalty of perjury, personally make an in-court statement of facts

that support any plea.


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                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Withdraw His

Plea (#85) is GRANTED, this court acceptance of his plea is WITHDRAWN, and

the Plea filed with the court is STRICKEN.



       The court finds that the time between the filing of defendant’s plea agreement

and the entry of this Order is excludable under the speedy trial act as being “delay

resulting from the consideration by the court of a proposed plea agreement . . . .” 18

U.S.C. § 3161(h)(1)(I).



       The Clerk of this court is respectfully instructed to place Mr. Wilson’s case back

on the district court’s trial docket.




                                                   Signed: October 2, 2007




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